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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO


    LEAH CROSS, MARCO GRANGER-
    RIVERA, RYAN SCHILLING, and CASSIE
    WHINNIE, and those similarly situated,
                                                        Case No. 1:23-CV-02099-NYW-SBP
                   Plaintiffs,
           v.
    AMAZON.COM, INC., and AMAZON
    LOGISTICS, INC.
                   Defendants.




    DEFENDANTS AMAZON.COM, INC. AND AMAZON LOGISTICS, INC.’S MOTION
       TO COMPEL ARBITRATION AND DISMISS OR STAY CLAIMS PENDING
                            ARBITRATION


   I.     INTRODUCTION

          Plaintiffs Leah Cross, Marco Granger-Rivera, Ryan Schilling, and Cassidy Whinnie

   (together, “Plaintiffs”) worked as local delivery drivers for various Delivery Service Providers

   (“DSPs”). Before doing so, they entered binding agreements to individually arbitrate their disputes

   with their respective employers and with their employers’ clients. Now, Plaintiffs seek to avoid

   their agreements to arbitrate by bringing this action against the DSPs’ client Amazon for alleged

   violations of state wage-and-hour and anti-discrimination laws. Because the Plaintiffs agreed to

   resolve this dispute in individual arbitration, Amazon moves for an order compelling the Plaintiff’s

   claims to individual arbitration and dismissing this action.




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   II.    BACKGROUND

          A.      The DSPs Provide Local Delivery Services in Colorado.

          Plaintiffs had different DSP employers—and one plaintiff, Marco Granger-Rivera, worked

   for multiple DSPs. Specifically, Plaintiff Leah Cross worked for Skybridge Delivery LLC;

   Plaintiff Ryan Schiller worked for Bison Peak LLC; and Plaintiff Marco Granger-River worked

   for Podium Logistics LLC, Peak Delivery Services, and Alpha Zulu Logistics LLC. Plaintiff

   Cassidy Whinnie worked for Tasty Trails Logistics LLC, and began the onboarding process with

   TenFour Logistics, LLC, through which she signed an arbitration agreement, but has not

   performed any work for it. Declaration of Alexis Cantwell-Badyna (“Cantwell-Badyna Decl.”),

   Ex. A, ¶ 5; Declaration of Jeffrey Calloway (“Calloway Decl.”), Ex. B, ¶ 3.

          The DSP employers for whom Plaintiffs worked do business in Colorado, and their

   employees make local-only deliveries in Colorado for the DSPs’ clients. Declaration of Carl

   Svanstrom (“Svanstrom Decl.”), Ex. C, ¶ 2; Declaration of Brian Baugh (“Baugh Decl.”), Ex. D.,

   ¶ 2; Declaration of Sheena Ferguson (“Ferguson Decl.), Ex. E, ¶ 2; Declaration of Aaron Everitt

   (“Everitt Decl.”), Ex. F, ¶ 2; Declaration of William Boyd (“Boyd Decl.”), Ex. G, ¶ 2; Declaration

   of Tasha Elliott (“Elliott Decl.”), Ex. H, ¶ 2. Each of these DSPs includes Amazon as a client. Id.

   Through that client relationship, the DSPs’ employees deliver packages to Amazon customers who

   order the products from Amazon’s website. Id.; see also Cantwell-Badyna Decl., ¶ 4. In delivering

   packages to Amazon customers, the DSPs’ delivery employees pick up the packages in Colorado

   and complete their deliveries within the local delivery area. Svanstrom Decl., ¶¶ 2-3; Baugh Decl.,

   ¶¶ 2-3; Ferguson Decl., ¶¶ 2-3; Everitt Decl., ¶¶ 2-3; Boyd Decl., ¶¶ 2-3; Elliott Decl., ¶¶ 2-3.




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          B.      Plaintiffs Signed Agreements Requiring Arbitration of All Disputes Related to
                  Their Employment with the DSPs.

          Plaintiffs completed similar onboarding processes when applying to work for their

   respective DSP employers. Cross applied with Skybridge on or about September 2022; Schiller

   applied with Bison Peak on or about August 2022; Granger-Rivera applied with Podium Logistics

   on or about February 2020, Alpha Zulu on or about November 2020, and Peak Delivery on or

   about December 2022; and Whinnie applied with Tasty Trails Logistics on or about February 2022

   and TenFour Logistics (not yet completed) in or about October 2023. Cantwell-Badyna Decl., ¶¶

   7-10; see also Svanstrom Decl., ¶¶ 3, 14; Baugh Decl., ¶¶ 3, 14; Ferguson Decl., ¶¶ 3, 14; Everitt

   Decl., ¶¶ 3, 14; Boyd Decl., ¶¶ 3, 14; Elliott Decl., ¶¶ 3, 14.

          As part of this process, Plaintiffs executed similar arbitration agreements entitled “Mutual

   Agreement to Individually Arbitrate Disputes” (the “Agreement”).           Cantwell-Badyna Decl.,

   Exhibit [“Ex.”] A. The Agreement provides that the Plaintiffs and DSP Employers “agree that any

   covered claim … shall be submitted to binding arbitration.” Id., p. 1. “Covered Claims” are

   defined as “all past, current, and future grievances, disputes, claims, issues, or causes of action …

   under applicable federal, state or local laws, arising out of or relating to” the Plaintiffs’

   “application, hiring, hours worked, services provided, and/or employment with the Company or

   the termination thereof,” or “a Company policy or practice, or the Company’s relationship with or

   to a customer, vendor, or third party,” including “issues regarding benefits, bonuses, wages, co-

   employment, or joint employment.” Id. The Agreement also provides that:

          The Employee and the Company each specifically acknowledges and agrees that
          all claims for overtime, unpaid wages, expense reimbursement, wage statements,
          and claims involving meal and rest breaks shall be subject to arbitration under this
          Agreement.

   Id. In addition, the Agreement expressly covers claims asserted under or relating to “Title VII of

   the Civil Rights Act of 1964 and similar state statutes,” “any common law, or statutory law issues


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   relating to discrimination by sex,” and “local, or municipal regulations, ordinances, or orders.” Id.

   “Covered Parties” is defined to include not only the Company, but “clients of the Company or a

   company entity, and the former and current officers, directors, managers, employees, owners,

   attorneys, agents, and vendors of the Company and/or a company entity and/or clients of the

   Company.” Id.

          The Agreement also includes a class action waiver. Id., p. 2. Under this provision, the

   Plaintiffs and the DSP Employers agreed that “class action, collective action, or consolidated

   action procedures are hereby waived and shall not be asserted in arbitration or in court, nor will

   they apply in any arbitration pursuant to this Agreement.” Id. It further provides that the parties

   “shall only submit their own, individual claims in arbitration and will not seek to represent the

   interests of any other person.” Id.

          C.      The Plaintiffs Violated their Agreement by Filing This Class Action Lawsuit.

          Despite their clear agreement to arbitrate on an individual basis, Plaintiffs filed a putative

   class action on May 22, 2023, and submitted their Amended Complaint (Dkt. 24) on October 9,

   2023. The Amended Complaint alleges class claims for: failure to provide rest periods; wages

   owed; and disparate impact. Am. Compl., ¶¶ 12-14, 85-126. Plaintiffs’ claims arise out of and

   relates to their employment with their DSP employers and clients, and concern wage and hour

   issues, which the Agreement expressly covers.

   III.   ARGUMENT

          A.      Plaintiffs Agreed to Arbitrate This Dispute.

          “[T]he first task of a court asked to compel arbitration of a dispute is to determine whether

   the parties agreed to arbitrate that dispute.” Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth,

   Inc., 473 U.S. 614, 626 (1985). To do so, courts “apply ordinary state-law principles that govern

   the formation of contracts.” First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944 (1995). Basic


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   contract-law principles require offer, acceptance, and consideration. See, e.g., Bovino v.

   Amazon.com, Inc., No. 13-cv-2111, 2015 WL 13612169, at *2 (D. Colo. Sept. 15, 2015). All these

   requirements were met here when Plaintiffs applied to work for the DSPs. See supra Section II.B.

   There is no dispute that the employment-related claims asserted in this litigation fall within the

   scope of the Agreement’s arbitration provision. Id.

          B.      The FAA Requires Plaintiffs to Arbitrate Their Claims on an Individual Basis.

                  1.      The FAA Governs the Agreement.

          The Federal Arbitration Act (“FAA”) broadly applies to any arbitration agreement that

   evidences a transaction involving commerce. 9 U.S.C. § 2. Courts construe this standard to

   encompass the full reach of Congress’ commerce power. Cit. Bank v. Alfabaco, Inc., 539 U.S. 52,

   56 (2003). The dispute itself need not implicate interstate commerce. Id. Rather, the FAA governs

   any arbitration agreement that affects commerce in any way. Allied-Bruce Terminix Cos. v.

   Dobson, 513 U.S. 265, 269 (1995).

          The DSPs’ business delivering packages for Amazon sufficiently affects interstate

   commerce for the FAA to apply. See Svanstrom Decl., ¶ 2; Baugh Decl., ¶ 2; Ferguson Decl., ¶ 2;

   Everitt Decl., ¶ 2; Boyd Decl., ¶2; Elliott Decl., ¶ 2. The parties also expressly agreed to the FAA’s

   applicability: “The [FAA] and federal common law applicable to arbitration shall govern the

   interpretation and enforcement of this Agreement.” Cantwell-Badyna Decl., Ex. A, p. 3 [bold

   omitted]. The Court should therefore find the FAA applies.

                  2.      The Agreement Is Not Exempt from the FAA.

          Amazon anticipates that Plaintiffs will argue that the Agreement is exempt from the FAA

   under its exemption for “contracts of employment of seamen, railroad employees, or any other

   class of workers engaged in foreign or interstate commerce.” 9 U.S.C. § 1. This argument fails.

   As the parties opposing arbitration, Plaintiffs bear the burden of demonstrating that this exemption


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   applies to them. Frazier v. W. Union Co., 377 F. Supp. 3d 1248, 1257 (D. Colo. 2019) (“the party

   resisting arbitration bears the burden of proving that Congress intended to preclude arbitration of

   the claims at issue”). They cannot carry that burden, for two independent reasons: (1) the

   Agreement is not a “contract of employment” and (2) Plaintiffs do not belong to a “class of workers

   engaged in foreign or interstate commerce.”

                         a.      The Agreement Is Not a “Contract of Employment.”

          Section 1 applies only to “contracts of employment.” 9 U.S.C. § 1 (emphasis added). So,

   for the exemption to apply, “the contract in question must be both a ‘contract of employment’ and

   one entered into with a ‘worker’ of the type described in 9 U.S.C. § 1.” Amos v. Amazon Logistics,

   Inc., 74 F.4th 591, 596 (4th Cir. 2023). The Supreme Court has clarified that “the term ‘contracts

   of employment’ refer[s] to agreements to perform work.” New Prime Inc. v. Oliveira, 139 S. Ct.

   532, 543-44 (2019). And “an agreement to perform work” means just that: “agreements that

   require independent contractors [or employees] to perform work.” Id. at 539. Such a contract

   “promise[s] work and compensation to an individual employee” and contains “hallmarks” such as

   “provisions regarding salary, benefits, and leave time.” Amos, 74 F.4th at 596 (holding that a

   contract between Amazon Logistics and a particular DSP was not a “contract of employment”).

   Courts recognize, moreover, that “arbitration agreements . . . do not constitute ‘contracts of

   employment’ where the arbitration agreement is ‘not contained’ in a broader employment

   agreement between the parties.” Harrington v. Atl. Sounding Co., 602 F.3d 113, 121 (2d Cir.

   2010) (citing Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 25 (1991)).

          Here, the Agreement is not an agreement to perform work. Nor is it contained within any

   “broader employment agreement.” It is a separate, standalone agreement. And the obligation to

   arbitrate under the Agreement arises before any employment relationship forms and regardless of

   whether any employment relationship forms. Cantwell-Badyna Decl., Ex. A, p. 1 (covering claims


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   arising from “application, hiring, hours worked, services provided, and/or employment with the

   Company or the termination thereof” (emphasis added)). For example, Plaintiff Whinnie entered

   into a binding arbitration agreement with TenFour Logistics but never ultimately entered into an

   employment relationship with the DSP. Calloway Decl., ¶¶ 3, 14; Cantwell-Badyna Decl., ¶ 10.

   Because the Agreement is not a “contract of employment” under the Supreme Court’s test, the

   Section 1 exemption is inapplicable.

                          b.      Plaintiffs Do Not Belong to a Class of Workers Engaged in
                                  Foreign or Interstate Commerce under the FAA

          The second reason the Agreement is not exempt from the FAA is that Plaintiffs do not

   belong to a “class of workers engaged in foreign or interstate commerce.” 9 U.S.C. § 1. In

   Southwest Airlines Co. v. Saxon, 596 U.S. 450 (2022), the Supreme Court “laid out the proper

   framework for determining whether a person falls within the transportation-worker exemption,”

   Lopez v. Cintas Corp., 47 F.4th 428, 431 (5th Cir. 2022) (applying Saxon to conclude that local

   delivery drivers are not exempt from the FAA). This framework prescribes a two-step inquiry:

   the Court should first define the relevant “class of workers” to which the plaintiffs belong and then

   determine whether the class of workers is “engaged in foreign or interstate commerce” under the

   Supreme Court’s test. Saxon, 596 U.S. at 455; accord Lopez, 47 F.4th at 431. Under Saxon,

   Plaintiffs belong to the class of local delivery drivers, and that class of workers is not “engaged in

   foreign or interstate commerce” within the meaning of FAA Section 1.

          First, in defining the class of workers, Saxon makes clear that courts should focus on the

   workers’ own conduct—not the activities of the businesses for which they work. The Court

   explained that the language of Section 1 centers on “workers” and thus on the “actual work” that

   they perform rather than the broader business activities of the companies for which they perform

   that work. Saxon, 596 U.S. at 456. Section 1, in other words, “exempts classes of workers based



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   on their conduct, not their employer’s.” Id. (citation omitted). The Saxon plaintiff was thus “a

   member of a ‘class of workers’ based on what she does at Southwest [Airlines], not what

   Southwest does generally.” Id. Her typical work activities placed her in “a class of workers who

   physically load and unload cargo on and off airplanes on a frequent basis.” Id.

          Under this framework, Plaintiffs belong to a class of local delivery drivers. They make

   strictly local deliveries, exclusively within the state of Colorado. Svanstrom Decl., ¶¶ 2-3; Baugh

   Decl., ¶¶ 2-3; Ferguson Decl., ¶¶ 2-3; Everitt Decl., ¶¶ 2-3; Boyd Decl., ¶¶ 2-3; Elliott Decl., ¶¶ 2-

   3; see Lopez, 47 F.4th at 431-32 (ruling that a self-described “last-mile driver” was in a class of

   “local delivery drivers” under Saxon’s framework). 1

          Second, the class of local delivery drivers to which Plaintiffs belong is not engaged in

   foreign or interstate commerce under Saxon’s test. That test requires that the class of workers be

   “directly involved in transporting goods across state or international borders.” Saxon, 596 U.S. at

   457 (emphasis added). That means that exempt workers “must at least play a direct and necessary

   role in the free flow of goods across borders” and “be actively engaged in transportation of those

   goods across borders via the channels of foreign or interstate commerce.” Id. at 458 (citations and

   quotation marks omitted).

          Unlike the airplane cargo loaders in Saxon, Plaintiffs are not “directly involved in

   transporting goods across state or international borders.” Id. at 457. Indeed, the Supreme Court

   itself “recognize[d]” that local delivery drivers “carr[y] out duties further removed from the

   channels of interstate commerce or the actual crossing of borders” than airplane cargo loaders. Id.

   at 457 n.2.



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     Even if this Court were to consider the business of Plaintiffs’ employers, rather than focus on
   their own work activities, the result would be the same because the DSPs that employed Plaintiffs
   perform activities within the state of Colorado.


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          Several recent appellate rulings show how to properly apply Saxon’s test to local delivery

   drivers. For example, in Lopez, a “last-mile driver” argued that he was exempt from the FAA

   because he delivered goods that had arrived at a Houston warehouse from outside Texas, even

   though his deliveries were all within Texas. 47 F.4th at 430-32. But the Fifth Circuit recognized

   that this argument was untenable after Saxon: “local delivery drivers are not so ‘engaged’ in

   ‘interstate commerce’ as § 1 contemplates.” Id. at 432. Even though the goods were shipped in

   from other states, “[o]nce the goods arrived at the Houston warehouse and were unloaded, anyone

   interacting with those goods was no longer engaged in interstate commerce” under Saxon’s test.

   Id. at 433. Local delivery drivers “do not have such a ‘direct and necessary role’ in the

   transportation of goods across borders” and are not “actively engaged in transportation of those

   goods across borders” because distinct classes of workers perform that cross-border transportation.

   Id.

          The Oklahoma Court of Civil Appeals and California trial courts have reached the same

   result in cases with very similar facts to those here. See Mathis v. Kerr, No. 120,246 (Okla. Civ.

   App. Dec. 16, 2022) (attached as Ex. I); Ovando v. Paolino, San Bernardino County Case No.

   CIVSB2216425 (Cal. Super. Ct. Aug. 17, 2023) (attached as Ex. J); Henderson v. Amazon.com,

   Inc., Alameda County Case No. 22CV018987 (Cal. Super. Ct. Oct. 4, 2023) (attached as Ex. K).

   Relying on Saxon and Lopez, these courts found that local delivery drivers who worked for

   companies that delivered Amazon packages locally were not exempt from the FAA because they

   were “only engaged in the local ‘last leg’ delivery of goods to local customers,” and thus were not

   “‘actively’ engaged in transportation of those goods across borders via the channels of foreign or

   interstate commerce.” Mathis, slip op. at 9; see also Ovando (“This court is persuaded more by

   the Lopez line of cases, which seems more in line with Southwest than the contrary cases.




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  Southwest made clear that ‘involving commerce’ signals the outer limits of the Commerce clause

  while ‘engaged in commerce’ is narrower. The proper inquiry here focuses on whether the worker

  played a direct and necessary role in transporting goods across state lines.”); Hernderson (same).

  In the same vein, another California court recently reached a similar conclusion with respect to an

  Amazon independent contractor driver who, like Plaintiffs here, made only local deliveries—even

  though, unlike Plaintiffs here, that driver contracted directly with Amazon.           See Pettie v.

  Amazon.com, Inc., No. CIVDS1908923, 2023 WL 4035015, at *1 (Cal. Super. Ct. May 25, 2023)

  (granting Amazon’s motion to compel arbitration in line with Saxon’s and Lopez’s guidance to

  focus on the role of the worker, rather than the business, and finding the FAA exemption

  inapplicable because the worker was “more of a local delivery person”). And in Nunes v.

  LaserShip, Inc., the district court similarly cited Saxon and Lopez in rejecting the claim “that last-

  mile delivery drivers are engaged in interstate commerce because the goods they transport have

  traveled interstate and remain in the stream of commerce until delivered.” No. 22-cv-2953, 2023

  WL 6326615, at *3 (N.D. Ga. Sept. 28, 2023) (emphasis omitted).

         Plaintiffs are likely to cite Brock v. Flowers Food, Inc., No. 22-cv-2413, 2023 WL 3481395

  (D. Colo. May 16, 2023), appeal filed, No. 23-1182 (10th Cir.), but that case is readily

  distinguishable. The court concluded that the Brock plaintiff was directly engaged in interstate

  commerce in part because he was “actively engaged in the transportation of Flowers’ products

  across state lines into Colorado, by placing orders for products that arrive from out-of-state

  bakeries and then delivering those products to his Colorado customers.” Id. at *5. That reasoning

  is inapplicable here. Plaintiffs have no active engagement in transporting any goods across state

  lines, whether by ordering those goods from another state or any other activity.




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          Plaintiffs may also argue that this Court should follow the pre-Saxon reasoning of Rittmann

  v. Amazon.com, Inc., 971 F.3d 904 (9th Cir. 2020), cert. denied, 141 S. Ct. 1374 (2021), which

  held that drivers in the Amazon Flex program were exempt from the FAA because they contracted

  with Amazon, whose business includes interstate transactions. The Ninth Circuit has continued to

  apply Rittmann in Carmona v. Domino’s Pizza, LLC, 73 F.4th 1135, 1137 (9th Cir. 2023), cert.

  filed, No. 23-427 (U.S.), and Miller v. Amazon.com, Inc., No. 21-36048, 2023 WL 5665771, at *1

  (9th Cir. Sept. 1, 2023), cert. filed, No. 23-424 (U.S.). These cases, however, determined that

  under Ninth Circuit rules of stare decisis, they had to continue to adhere to Rittmann unless it was

  “clearly irreconcilable” with Saxon. Carmona, 73 F.4th at 1137 (citation omitted); see also Miller,

  2023 WL 5665771, at *1. Both decisions, therefore, put a thumb on the scale in favor of retaining

  Rittmann rather than seriously confronting its conflicts with Saxon. See Carmona, 73 F.4th at

  1138.

          There is no question, though, that Rittmann’s test does not align with Saxon’s. First,

  Rittmann violates Saxon by focusing not on the workers’ own actual work, but on the broader

  business activities of Amazon, the company with which the Rittmann plaintiffs contracted. Indeed,

  the court expressly rejected Amazon’s argument that the exemption’s application depends on the

  activities of the relevant workers and not the business. Rittmann, 971 F.3d at 917-18. Under

  Saxon’s more recent guidance, that was wrong. The exemption turns on evidence about what the

  workers “actually” do on a frequent basis, not what the business does. Saxon, 596 U.S. at 455-56;

  Lopez, 47 F.4th at 431. Second, Rittmann violates Saxon by holding that delivery drivers need not

  be directly and actively involved in transportation across borders: it is enough to carry “goods that

  remain in the stream of interstate commerce until they are delivered.” Id. at 915. The Supreme

  Court did not adopt so expansive a test. It explicitly required the workers’ direct and active




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  involvement in the goods’ transit across borders. In fact, all three of Saxon’s formulations of its

  test used the phrase “across borders” or equivalent language. Saxon, 596 U.S. at 457-58. Rittmann,

  and other pre-Saxon authority that applied a more expansive test, cannot support Plaintiffs given

  the Supreme Court’s intervening directions.

          C.      Colorado Law Also Requires Plaintiffs to Arbitrate Their Claims on an
                  Individual Basis.

          In all events, even if the Agreement were exempt from the FAA, Plaintiffs still would have

  to arbitrate their claims under state law. The Agreement provides that if “for any reason, the FAA

  or federal common law is found not to apply . . . then applicable state law shall govern.” Cantwell-

  Badyna Decl., Ex. A at 2. Here, where Plaintiffs contracted in Colorado to perform delivery

  services in Colorado, the applicable state law would be Colorado law. And it requires Plaintiffs

  to arbitrate their claims.

          Like the FAA, the Colorado Uniform Arbitration Act provides that “[a]n agreement

  contained in a record to submit to arbitration any existing or subsequent controversy arising

  between the parties to the agreement is valid, enforceable, and irrevocable except on a ground that

  exists at law or in equity for the revocation of a contract.” Colo. Rev. Stat. Ann. § 13-22-206.

  Like federal law, Colorado law features a strong public policy favoring arbitration. See Lane v.

  Urgitus, 145 P.3d 672, 678 (Colo. 2006); J.A. Walker Co. v. Cambria Corp., 159 P.3d 126, 128

  (Colo. 2007); Tug Hill Marcellus LLC v. BKV Chelsea LLC, 486 P.3d 461, 463 (Colo. App. 2021).

          Because the Colorado Uniform Arbitration Act has no exemption for transportation

  workers, this Court need not even decide whether the Agreement is exempt from the FAA. See,

  e.g., Harper v. Amazon.com Servs., Inc., 12 F.4th 287, 291 (3d Cir. 2021) (holding that courts

  should bypass difficult questions about the FAA exemption if it is possible to compel arbitration

  under state law). Federal courts across the country routinely enforce arbitration agreements under



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  applicable state law even when those agreements are, or might be, exempt from the FAA under 9

  U.S.C. § 1. See, e.g., Morales v. Activ Enterprises, LLC, Case 2:23-cv-05943-DSF-SK, Dkt. No.

  25 (C.D. Cal. Nov. 6, 2023) (compelling DSP employee who performed Amazon deliveries to

  arbitrate under California law without first determining whether the driver was exempt from the

  FAA under Saxon) (attached as Ex. L); Melikyan v. Amazon.com, Inc., No. 21-cv-8715, 2023 WL

  4505065, at *1 (C.D. Cal. July 5, 2023) (compelling Amazon Flex driver to arbitrate under

  Delaware law without first determining whether the driver was exempt from the FAA under

  Saxon); Saxon v. Sw. Airlines Co., No. 19-cv-403, 2023 WL 2456382, at *4 (N.D. Ill. Mar. 10,

  2023) (compelling the Saxon plaintiff to arbitrate under Illinois law); Harper v. Amazon.com Servs.

  Inc., No. 19-cv-21735, 2022 WL 17751465, at *9 (D.N.J. Dec. 19, 2022) (compelling Amazon

  Flex driver to arbitrate under either Washington and New Jersey law); Espinosa v. SNAP Logistics

  Corp., No. 17-cv-6383, 2018 WL 9563311, at *5 (S.D.N.Y. Apr. 3, 2018) (“[E]ven if Plaintiff is

  exempt from the FAA, the application of the exemption does not preclude enforcement of the

  arbitration provision under New York state law.”).

         Here, there is no reason not to do likewise. Regardless of whether the Agreement is exempt

  from the FAA, Plaintiffs must arbitrate under Colorado state law. The Court can properly grant

  this Motion without even addressing the FAA.

         D.      Amazon Is Entitled to Enforce the Arbitration Agreements.

         Finally, although Amazon did not sign the Agreement, it is entitled to enforce Plaintiffs’

  agreements to arbitrate on two grounds: (1) Amazon is a third-party beneficiary of the Agreement;

  and (2) Plaintiffs seek to hold Amazon liable for the DSPs’ employment actions under a theory of

  agency.

         First, non-signatories can enforce arbitration agreements when they are third-party

  beneficiaries of the agreement. N.A. Rugby Union LLC v. United States of Am. Rugby Football


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  Union, 2019 CO 56, ¶ 21, 442 P.3d 859, 863 (adopting third-party-beneficiary exception to the

  rule only signatories can enforce arbitration agreement). “The critical fact that determines whether

  a nonsignatory is a third-party beneficiary is whether the underlying agreement manifests an intent

  to confer specific legal rights upon the nonsignatory.” Id. at 865-66 (internal citations and

  quotations omitted). Courts routinely have held that Amazon is entitled to enforce the arbitration

  agreement between a delivery service provider and its employee. See, e.g., Hernandez v.

  Amazon.com Servs., LLC, Orange County Case No. 30-2021-01192697-CU-OE-CXC (Cal. Sup.

  Ct. Oct. 1, 2021), Dkt. 70 (order that plaintiff must arbitrate claims against DSP and Amazon

  where Amazon joined DSP’s motion to compel arbitration) (attached as Ex. M).

         Here, the contracting parties showed an intent for their arbitration agreements to benefit

  Amazon and other clients of the DSP employers. Plaintiffs agreed to arbitrate “any Covered

  Claim,” which the Agreement defines as “all past, current, and future grievances, disputes, claims,

  issues, or causes of action … arising out of or relating to … a [Delivery Service Provider’s]

  relationship with or to a customer, vendor, or third party, including without limitation claims

  [Plaintiffs] may have against the Company and/or any Covered Parties … .” See Cantwell-Badyna

  Decl., Ex. A, p. 1. Plaintiffs’ claims against Amazon qualify as Covered Claims because they arise

  out of and relate to the relationship between the DSP employers and Amazon. See Am. Compl.,

  ¶¶ 4, 26-27. In addition, Amazon fits within the definition of “Covered Parties” under each

  Plaintiffs’ arbitration agreement because that definition expressly includes the “clients” of each

  DSP Employer with whom Plaintiffs entered into such an agreement. Cantwell-Badyna Decl., Ex.

  A, p. 2. By Plaintiffs’ own allegations and the uncontested facts, Amazon is a Covered Party and

  thus a third-party beneficiary of the Agreements. Moreover, under the Agreement’s express terms,

  it does not matter that Plaintiffs have not chosen to join the DSPs to this litigation. Id., Ex. A, p.




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  1 (“any claims brought by the Employee against any of the Covered Parties, whether brought

  jointly or severally with claims against the [DSP], shall be subject to arbitration under this

  Agreement”).

         Second, Amazon can enforce the Agreements under agency principles because Plaintiffs

  allege that the DSP employers are Amazon’s agents. Am. Compl., ¶ 27 (“DSPs effectively serve

  as Amazon’s agents to facilitate deliveries”); see also id. (alleging “Amazon’s control over nearly

  every aspect of [the DSPs’] business”). “The agency exception to the general principle that a party

  cannot be required to arbitrate any dispute that it has not agreed to arbitrate is premised on

  traditional principles of agency law” and provides that an “agent may bind a principal to a

  contract.” N.A. Rugby Union, 442 P.3d at 866. Because Plaintiffs have alleged an agency

  relationship between Amazon and the DSP employers, Amazon may enforce the agreements under

  the alleged agency relationship. See, e.g, Loyola v. Am. Credit Acceptance LLC, No. 19-cv-2,

  2019 WL 1601362, at *8 (E.D. Wash. Apr. 15, 2019) (recognizing that it is appropriate to compel

  arbitration under agency and related principles when the claims against the signatory and

  nonsignatory are “inherently inseparable”). For this reason, too, Amazon is entitled to enforce the

  Agreement.

         E.      The Court Should Dismiss or Stay Plaintiffs’ Claims Pending Arbitration.

         The FAA’s strong pro-arbitration policy requires courts to rigorously enforce FAA-

  governed arbitration agreements according to their terms, including by compelling arbitration and

  dismissing (or staying) litigation. 9 U.S.C. §§ 3-4; see Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612,

  1621 (2018). As Plaintiffs must arbitrate their claims, the class claims should also be dismissed.

  See Thomas v. Metro. Life Ins. Co., 631 F.3d 1153, 1159 (10th Cir. 2011) (“Prior to class




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  certification, the named Plaintiffs’ failure to maintain a live case or controversy is fatal to the case

  as a whole[.]”).

          At minimum, Plaintiffs’ class claims must be stayed pending arbitration. Both the FAA

  and the Colorado Uniform Arbitration Act provide for a mandatory stay to continue until

  arbitration concludes. 9 U.S.C. § 3; Colo. Rev. Stat. Ann. § 13-22-207. If this Court declines to

  dismiss the action or class claims, state and federal law firmly establishes Plaintiffs’ individual

  claims must be ordered to arbitration and the remaining claims stayed pending the outcome of

  arbitration.

  IV.     CONCLUSION

          For all these reasons, this Court should compel Plaintiffs’ claims to arbitration on an

  individual basis, dismiss their class claims, and dismiss this action.

   Dated: November 6, 2023                         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of Defendants Amazon.Com, Inc. and Amazon Logistics,

  Inc.’s Motion to Compel Arbitration and Dismiss or Stay Claims Pending Arbitration was

  electronically filed with the Clerk of the Court using the Court’s CM/ECF electronic filing system

  this 6th day of November, 2023, which will provide notice of service upon:

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